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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 JANE DOE 1, et al,                               §
                                                  §
         Plaintiffs,                              § Civil Action No. 6:16-CV-00173-RP
                                                  §
 v.                                               §         Consolidated with
                                                  §         6:17-CV-228-RP
 BAYLOR UNIVERSITY,                               §         6:17-CV-236-RP
                                                  §
         Defendant.                               §

         DEFENDANT BAYLOR UNIVERSITY’S ADVISORY TO THE COURT
                     REGARDING DOCKET NO. 1090

TO THE HONORABLE ROBERT PITMAN:

       Defendant Baylor University advises the Court that Baylor has completed the production of

the entire Pepper Hamilton universe of documents pursuant to the Report and Recommendation of

Special Master (“Report and Recommendation”), the Court’s order adopting the Report and

Recommendation, and the Court’s text order of March 7, 2023, extending the deadline for production

to April 1, 2023. Dkt. 1082 at 19-31; Dkt. 1090 at 5; Dkt. 1091. The production was transmitted

electronically to Plaintiffs’ counsel on March 31, 2023. See Exh. A, Declaration of Ryan H. Newman

(“Newman Decl.”) at ¶ 4. The production contains 1,326,747 documents bearing either a “PH” or

“PH2” bates label. Exh. B, Declaration of Todd Ranta. In accordance with the Report and

Recommendation and the Court’s Order (see Dkt. 1082 at 33 and Dkt. 1090 at 5), Baylor attaches

declarations from its counsel and its electronic discovery vendor describing the steps taken to ensure

a complete and proper production. See Exh. A, Newman Decl.; Exh. B, Declaration of Todd Ranta.

       Finally, although Baylor has worked diligently to comply with the Court’s orders and has

engaged in quality control processes, due to the large volume of production and the use of zipped and

compressed files, there is the remote possibility of the occurrence of a technical issue during the


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zipping, compressing, or transmittal of the production. If Plaintiffs’ counsel identifies a technical issue

with a document or a gap in metadata, Baylor will immediately address any unexpected technical issues.

                                                         Respectfully submitted,
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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing pleading was served upon all

counsel of record on March 31, 2023, via ECF/CMF electronic service system:

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